
PER CURIAM.
|, After reviewing the evidence and considering the law, we conclude petitioner is eligible to be conditionally admitted to the practice of law in Louisiana, subject to the following conditions:
1.Petitioner shall continue to comply with the terms of the recovery agreement he signed with the Judges and Lawyers Assistance Program (“JLAP”) on August 23, 2013.
2. The period of this conditional admission shall coincide with the period of petitioner’s JLAP agreement. However, petitioner’s conditional admission status shall hot be terminated until this court so orders.
3. Petitioner shall authorize the Executive Director of JLAP to report any violations of the JLAP agreement to the Office of Disciplinary Counsel (“ODC”).
4. Upon the expiration of the term of petitioner’s JLAP agreement, the Executive Director' of JLAP shall forward to the ODC (a) a final report of petitioner’s progress and participation in JLAP, and (b) a recommendation regarding the need for petitioner’s ' continued participation in JLAP.
. 5. Following receipt of .the report from JLAP, the ODC shall file a report in this court in which it shall recommend whether the conditional admission shall be allowed to terminate or shall be extended.
. 6. Petitioner . shall cooperate with JLAP, and the ODC, and shall comply with any and all requirements imposed upon him by JLAP and the ODC.
^Should - petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any. misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules&gt; .for Lawyer . Disciplinary Enforcement.
“CONDITIONAL ADMISSION GRANTED.
WEIMER, J., would deny.
